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             AFFIDAVIT OF STEVEN EDELMAN, M.D.

   I, Steven Edelman, M.D., attest:

   1. My name is Steven Edelman. I am a physician, Board Certi-

      fied in Diabetes and in Internal Medicine.

   2. I am a Professor of Medicine in the Division of Endocrinolo-

      gy, Diabetes and Metabolism, at the University of California

      San Diego, since 2001, teaching, conducting research and

      practicing diabetes patient care within the university and the

      Veterans Affairs (VA) Healthcare Systems, San Diego, CA.

   3. I am Director of the Clinical Clerkship Program, University of

      California, San Diego and the Veterans Affairs (VA) Medical

      Center.

   4. I am the Founder, Director, and Chairman of the Board, of-

      Taking Control of Your Diabetes (TCOYD) www.tcoyd.org, a

      not-for-profit 501(c)(3) organization promoting patient educa-

      tion, motivation and self-advocacy via a number of informa-
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      tion portals (national conferences, publications, social media,

      television, and community programs), since 1995.

   5. Attached hereto at Ex. A is a true and correct copy of my most

      recent CV, which accurately states my employment back-

      ground in medicine, my education and training in medicine, a

      list of appointments and community service, academic honors

      and awards, professional associations, teaching experience,

      publications, and other related information regarding my med-

      ical background.

   6. Because TCOYD is engaged in ongoing conferences around

      the United States, I give many presentations each year to

      people with type 1 and type 2 diabetes as well as health care

      professionals.

   7. I am providing this affidavit about the risk of SARS-CoV-2

      infection, also known as COVID-19, or the novel coronavirus,

      to persons with type 2 diabetes, because such persons held

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      within correctional settings are particularly vulnerable as a re-

      sult of their incarceration.

   8. Attached hereto at Ex. B is a true and correct copy of a form

      letter prepared and published by the American Diabetes Asso-

      ciation (“ADA”), which addresses concerns regarding facili-

      ties that detain people with diabetes under criminal or civil

      law during the COVID-19 pandemic.

   9. The American Diabetes Association is recognized as a global

      authority on diabetes, and is the author of the Standards of

      Care for Diabetes.

   10. Consistent with the position of the ADA reflected in the form

      letter attached at Ex. B, I would add specifically that having

      Type 2 diabetes is a significant risk factor for serious compli-

      cations from COVID-19, including death.

   11. Vulnerability of persons with type 2 diabetes exists both be-

      cause such persons are more vulnerable to contracting

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      COVID-19 as a result of reduced immunity derived from their

      type 2 diabetes, and because such persons are more likely to

      suffer serious and deadly consequences of COVID-19 as a re-

      sult of particular co-morbidities seen in this population.

   12. Although COVID-19 is novel, the medical community has

      been collecting and analyzing information with regard to all

      patients which support the conclusion of increased risks for

      persons with diabetes. For example, the CDC, which publishes

      peer reviewed studies, and advises the government on matters

      of public health, reported that the risk of death for those with

      diabetes is 7%, a number much higher than the general popu-

      laton. (https://www.cdc.gov/coronavirus/2019-ncov/hcp/clini-

      cal-guidance-management-patients.html).

   13. These risks make it especially critical that persons with type

      2 diabetes to have access to the best resources to keep the glu-

      cose levels close to normal, observe strict social distancing

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      and maintain cleanliness, including frequent hand-washing,

      use of sanitizer, and the use of personal protection equipment

      such as masks when held in settings where they are exposed to

      other individuals. Wearing plastic gloves at times of potential

      contact with surfaces exposed to the virus is also critical.

   14. The risk of complications from COVID-19 is substantially

      increased for those with a history of poor blood glucose con-

      trol, regardless of the type of diabetes, because the immune

      system is compromised and individuals will not be able to

      fight off any type of infection, including COVID-19. Patients

      with poor control are also more likely to have already devel-

      oped complications from their diabetes such as eye, kidney,

      heart and nerve disease. Having these underlying medical

      conditions make them more vulnerable to the serious conse-

      quences from COVID-19, including death. Death due to

      COVID-19 infection is more likely for those with diabetes be-

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      cause viral infection makes them more susceptible to pneumo-

      nia, kidney failure and diabetic ketoacidosis.

   15. Persons at risk for type 2 diabetes, especially those not re-

      ceiving annual blood tests from a physician, commonly go un-

      diagnosed for years. During this time, their blood glucose

      management is poor because no effort is made to manage a

      disease that can be asymptomatic in the early stages, and has

      not been diagnosed, let alone treated. Many such persons are

      only diagnosed once they’ve had dangerous blood glucose

      levels for so long that they are already suffering consequences

      and complications from poor blood glucose management. It is

      not uncommon that a patient may have type 2 diabetes for 5 to

      10 years without knowing it if not tested properly.

   16. Persons entering the correctional system who already have a

      history of poor blood glucose management, meaning he-



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      moglobin a1c levels in excess of 8% over time, enter the sys-

      tem with increased vulnerability to COVID-19.

   17. There are very few persons with type 2 diabetes who have

      no additional underlying medical conditions. The vast majori-

      ty are overweight, which is inherent for individuals with type

      2 diabetes, have high blood pressure, abnormal cholesterol

      levels, and underlying heart disease, or overt heart disease.

      Also the vast majority of persons with type 2 diabetes are old-

      er, another important risk factor for bad COVID-19 outcomes.

   18. In summary, virtually all persons with type 2 diabetes, re-

      gardless of the date of diagnosis, are especially vulnerable to

      both contracting COVID-19, and suffering the severe conse-

      quences of COVID-19 if they are infected, with rare excep-

      tion.

         Signed and sworn to under the pains and penalties of per-

   jury this 19th day of April 2020.

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                                       /s/ Steven Edelman, M.D.

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                                       CURRICULUM VITAE

                                   Steven V. Edelman, M.D.


        VA Address:                    Veterans Affairs Medical Center
                                       Department of Endocrinology and Metabolism
                                       3350 La Jolla Village Drive (111G)
                                       San Diego, California 92161
                                       Email: sedelman@ucsd.edu

        Mailing Address:               Taking Control Of Your Diabetes (501c3)
                                       990 Highland Drive Suite 312
                                       Solana Beach, Ca 92075
                                       Email: steve@tcoyd.org

        Phone:                         Mobile:     (619) 339-3112
                                       Office:     (858) 755-5683
                                       Fax:        (858) 755-6854

        Board
        Certifications:                 Diabetes, Endocrinology and Metabolism
                                 (1991, 2002)
                                        Internal Medicine
                                        (1986)




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                                         EMPLOYMENT

        2001 - present           Professor of Medicine
                                 Division of Endocrinology, Diabetes and Metabolism,
                                 University of California San Diego
                                 Veterans Affairs Healthcare System, San Diego

        1995-2001                Associate Professor of Medicine
                                 Division of Endocrinology and Metabolism,
                                 University of California San Diego
                                 Veterans Affairs Healthcare System, San Diego

        1991-1995                Assistant Professor of Medicine
                                 Division of Endocrinology and Metabolism,
                                 University of California San Diego

        1989-1990                Visiting Physician
                                 Department of Medicine,
                                 Division of Endocrinology and Diabetes,
                                 Chaim Sheba Medical Center, Tel Hashomer, Israel

        1989-1990                Staff Physician
                                 Portland Diabetes and Endocrinology Center,
                                 Portland, Oregon

        1989-1990                Clinical Assistant Professor
                                 Department of Medicine,
                                 Division of Endocrinology and Metabolism,
                                 University of Oregon Center for Health Sciences,
                                 Portland, Oregon




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                                           EDUCATION

        1987-1989                Research Fellowship in Diabetes and Metabolism
                                 University of California, San Diego
                                 San Diego, California

        1986-1987                Fellowship in Endocrinology and Metabolism
                                 The Lahey Clinic
                                 Burlington, Massachusetts

        1985-1986                Clinical Fellowship in Diabetes and Metabolism
                                 The Joslin Clinic
                                 Boston, Massachusetts

        1982-1985                Resident in Internal Medicine
                                 University of California, Los Angeles
                                 Los Angeles, California

        1978-1982                Doctor of Medicine and Valedictorian
                                 University of California, Davis
                                 Davis, California

        1977-1978                Master of Science, Biology
                                 University of Southern California
                                 Los Angeles, California

        1973-1977                Bachelor of Science, Biology
                                 University of California, Los Angeles
                                 Los Angeles, California


                       APPOINTMENTS & COMMUNITY SERVICE

        Founder, Director, and Chairman of the Board
        Taking Control of Your Diabetes (TCOYD) www.tcoyd.org
        A not-for-profit organization promoting patient education, motivation and
        self-advocacy via a number of information portals (national conferences,
        publications, social media, television, and community programs) (1995-
        Present)

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        Director, Clinical Clerkship Program
        University of California, San Diego and the Veterans Affairs (VA) Medical
        Center (1995-Present)

        Director, Diabetes Care Clinic
        VA Medical Center, San Diego, CA (1995-Present)

        Research and Independent Student Project Advisor for UCSD
        graduate and medical students (1995-Present)

        Therapeutic expert/speaker - FDA meetings and panels (1998-Present)

        Journal Reviewer - current:
             Annals of Internal Medicine
             Diabetes Monitor, Journal of Clinical Investigation
             Journal of Clinical Endocrinology and Metabolism
             Diabetes Interviews
             Diabetes Care
             Diabetes
             Diabetologia
             Endocrine Practice
             New England Journal of Medicine
             Journal of Diabetes and Complications

        Grant Reviewer, Austrian Diabetes Association (2008-2010)

        Editor-in-Chief, Insulin (2004-2010)

        Editor-in-Chief, Diabetes, Metabolic Syndrome & Obesity (2002-2010)

        Director, Endocrine Fellowship Training Program
        University of California, San Diego and the VA Medical Center (1998-2005)

        Editorial Advisory Board, Endocrine Today (past)

        Certification and Recertification Programs for the American Board to
        Internal Medicine (past)


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        Professional Education Committee, American Diabetes Association
        (past)




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                             ACADEMIC HONORS AND AWARDS

        2015 Recipient of the Josiah Kirby Lilly, Sr. Distinguished Service Award

        2013 US World Report: Top 1% of US Endocrinologists

        2012 San Diego Magazine Top Doctors in San Diego award

        2011 UC Davis School of Medicine Transformational Leadership award

        2011 AACE Distinction in Clinical Endocrinology award

        2011 San Diego Magazine Physicians of Exceptional Excellence award

        2010 San Diego Magazine Physicians of Exceptional Excellence award

        2009 San Diego Magazine Physicians of Exceptional Excellence award

        2009 ADA Diabetes Educator of the Year

        2008 PharmaVoice 100 of the Most Inspiring People award

        2008 San Diego Magazine Top Doctors in San Diego County award

        2007 San Diego Magazine Top Doctors in San Diego County award

        2007 UCSD Student-Run Free Clinic Project’s Community Leader award

        2006 Combined Health Agencies San Diego Chapter “Health Hero” award

        2006 San Diego Magazine Top Doctors in San Diego County award

        2005 San Diego Magazine Top Doctors in San Diego County award

        2004 San Diego Magazine Top Doctors in San Diego County award

        2003 San Diego Magazine Top Doctors in San Diego County award

        2002 House staff Teaching Award for Excellence Award University of
             California San Diego

        2002 Chief Resident’s Teacher of the Year Award, University of California
             San Diego
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        2001 Chief Resident’s Teacher of the Year Award, University of California
             San Diego

        2001 Healthcare Foundation of New Jersey's Humanism in Medicine
             Award

        2001 Whittier Institutes Persistence Award for Public Service

        2001 House staff Teaching Award for Excellence Honorable Mention,
             University of California San Diego

        2000 House staff Teaching Award for Excellence Award, University of
             California San Diego

        1999. Chief Resident’s Teacher of the Year Award, University of California
              San Diego

        1996. House staff Teaching Award for Excellence: Honorable Mention
              University of California, San Diego

        1995 Chief Resident’s Teacher of the Year Award, University of California
             San Diego

        1995 Citation of Excellence, Cal Aggi Alumni, Association

        1994. Chief Resident’s Teacher of the Year Award, University of California
              San Diego

        1994 Distinguished Alumnus Award, University of California Davis,
             Medical School

        1985 National Commanders Award of the Disabled American Veterans,
             Sepulveda Veterans Affairs Medical Center, Los Angeles, CA

        1982 Ad Hoc Judicial, Honors and Awards, and Admissions Committee,
             University of California, Davis Medical School

        1982 Valedictorian, University of California, Davis Medical School

        1978 Regents Scholar, University of California

        1977 Deans Honor List, University of California, Los Angeles


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        1977 Graduate cum Laude, University of California, Los Angeles


                                 PROFESSIONAL ASSOCIATIONS

        Active Member:

                         The Endocrine Society
                         Association of Academic Professors
                          Juvenile Diabetes Research Foundation
                         American Diabetes Association
                         American Association of Diabetic Educators
                         American Physicians Fellowship
                         Association of Clinical Endocrinologists
                         American Society of Clinical Investigation
                         International Diabetes Federation


                                   TEACHING EXPERIENCE

        1995-
        Present          Director, Diabetes Care Teaching Clinic
                         VA Medical Center, San Diego, CA

        1998-2005 Director, Endocrine Fellowship Training
                  Program, UCSD and VA Medical Center, San Diego, CA

        1998.            Co-Director, Endocrine Fellowship Training
                         Program, UCSD and VA Medical Center, San Diego, CA

        1989-1991        Residency Education Staff
                         Good Samaritan Hospital, Portland, OR

        1989.            Teaching Assistant
                         University of California, San Diego
                         Department of Medicine, Division of Endocrinology

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                         and Metabolism, San Diego, CA
        1987.            Teaching Assistant, Harvard Medical School, Department
                         of Medicine, Boston, MA

        1978.            Teaching Assistant, Department of Human Physiology,
                         University of Southern California, Los Angeles, CA


                                         PUBLICATIONS

            1.     Tuck ML, Edelman SV. Drug therapy: special concerns in the
                   hypertensive diabetic. Mod Med. 11:48-54, 1985.

            2.     Edelman SV, Kosofsky E, Paul R, Kozak GP. Neuro-
                   osteoarthropathyb (charcot's joint) in diabetes mellitus following
                   revascularization surgery. Arc Intern Med. 147:1504-1508, 1987.

            3.     Vignati L, Edelman SV. Replacement of pancreatic function
                   through the use of mechanical or electronic devices. In: Organ
                   Transplantation and Replacement. G.J. Cerilli, editor. J.B. Lippincott,
                   Philadelphia, PA. 680-688,1988 (book chapter).

            4.     Baron AD, Brechtel G, Wallace P, Edelman SV. Fasting decreases
                   rates of non-insulin-mediated glucose uptake in man. J Clin
                   Endocrinol Metab. 67:532-540, 1988.

            5.     Baron AD, Brechtel G, Wallace P, Edelman SV. Rates and tissue
                   sites of non-insulin and insulin-mediated glucose uptake in humans.
                   Am J Physiol. 255:E769-E774, 1988.

            6.     Baron AD, Brechtel G, Edelman SV. Effects of free fatty acids on
                   ketone bodies on in vivo non-insulin-mediated glucose utilization
                   and production in humans. Metabolism. 38:1056-1061, 1989.

            7.     Edelman SV, Witztum J. Hyperkalemia during treatment with
                   HMG- CoA reductase inhibitor. New Engl J Med. 320:1219-1220,
                   1989.




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            8.     Molina JM, Baron AD, Edelman SV, Brechtel G, Wallace P, Olefsky
                   JM. Use of a variable tracer infusion method to determine glucose
                   turnover in humans. Am J Physiol. 25(8):E16-E23, 1990.

            9.     Baron AD, Laakso M, Brechtel G, Hoit B, Watt C, Edelman SV.
                   Reduced postprandial skeletal muscle blood flow contributes to
                   glucose intolerance inhuman obesity. J Clin Endocrinol Metab.
                   70:1525-1533, 1990.

            10. Laakso M, Edelman SV, Brechtel G, Baron AD. Decreased effect
                of insulin to stimulate skeletal muscle blood flow in obese man: a
                novel mechanism for insulin resistance. J Clin Invest. 85:1844-52,
                1990.

            11. Edelman SV, Laakso M, Brechtel G, Wallace P, Olefsky JM, Baron
                AD. Kinetics of insulin-mediated and non-insulin-mediated glucose
                uptake in humans. Diabetes. 39(8):955-964, 1990.

            12. Laakso M, Edelman SV, Olefsky JM, Brechtel G, Wallace P, Baron
                AD. Kinetics of in vivo muscle insulin-mediated glucose uptake in
                human obesity. Diabetes. 39(8):965-974, 1990.

            13. Edelman SV. Intensive insulin therapy. Diabetes Forecast 44:40-43,
                1991.

            14. Baron AD, Laakso M, Brechtel G, Edelman SV. Reduced capacity
                and affinity of skeletal muscle for insulin-mediated glucose uptake in
                non-insulin dependent diabetic subjects: effects of insulin therapy. J
                Clin Invest. 87:1186 1194, 1991.

            15. Baron AD, Laakso M, Brechtel G, Edelman SV. Mechanism of
                insulin resistance in insulin-dependent diabetes mellitus: a major role
                for reduced skeletal muscle blood flow. J Clin Endocrinol Metab.
                73:637-643, 1991.

            16. Henry RR, Edelman SV. Advances in treatment of type II diabetes
                mellitus in the elderly. Geriatrics. 47:24-30, 1992.




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            17. Saudek CD, Duckworth WC, Veterans Affairs Study Group,
                Edelman SV. The Department of Veterans Affairs implanted
                insulin pump study. Diabetes Care. 15:567-570, 1992.

            18. Laakso M, Edelman SV, Brechtel G, Baron AD. Impaired insulin-
                mediated skeletal muscle blood flow in patients with NIDDM.
                Diabetes. 41:1076-1083, 1992.

            19. Duckworth WC, Saudek CD, Henry RR, The Veterans Affairs Study
                Group, Edelman SV. Why intraperitoneal delivery of insulin with
                implantable pumps in NIDDM? Diabetes. 41:657-661, 1992.

            20. Laakso M, Edelman SV, Brechtel G, Baron AD. Effects of
                epinephrine on insulin-mediated glucose uptake in whole body and
                leg muscle in humans: role of blood flow. Am J Physiol. 263:E199-
                E209, 1992.

            21. Edelman SV. Diabetes mellitus: recent developments and clinical
                implications. In: Manual of Endocrinology and Metabolism. Norman
                Lavin, editor. Little, Brown and Company, Boston, MA. 581-586,
                1994 (book chapter).

            22. Edelman SV. The diabetes epidemic. Medical Section Proceedings of the
                American Council of Life Insurance. JG Pallas, editor. 1994.

            23. Edelman SV, White D, Henry RR. Intensive insulin therapy for
                patients with type II diabetes. International Diabetes Monitor. 7(2):1-9,
                1994.

            24. Edelman SV, Henry RR. Insulin therapy for normalizing
                glycosylated hemoglobin in type II diabetes: application, benefits and
                risks. Diabetes Review. 3:308-334, 1995.

            25. Edelman SV. Impaired glucose tolerance: a precursor of NIDDM
                or a disease entity in itself ? Diabetes News. 26:1-5, 1995.

            26. Edelman SV, White D, Henry RR. Intensive insulin therapy for
                patients with type II diabetes. Current Opinion in Endocrinology and
                Diabetes. 2:333-340, 1995.


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            27. Reaven P, Herold DA, Barrett JE, Edelman SV. Effects of vitamin
                E on susceptibility of LDL and LDL subfractions to oxidation and
                on protein glycation in NIDDM. Diabetes Care. 18(6):807-816, 1995.

            28. Henry RR, Edelman SV. Diabetes mellitus in adults. In: Conn’s
                Current Therapy. Conn HF et al, editors. 28:522-530, 1995 (book
                chapter).

            29. DPT-1 Study Group. The Diabetes Prevention Trial-Type 1
                Diabetes (DPT-1), Edelman SV. Implementation of
                screening and staging of relatives. Transplantation Proceedings.
                27(6):3377, 1995.

            30. Edelman SV, Henry RR. Intensive insulin treatment for
                patients with type II diabetes: a fundamental and clinical text.
                Diabetes Mellitus. D LeRoith, SI Taylor, JM Olefsky, editors.
                Lippincott -Raven JB, Philadelphia, PA. p. 647, 1996 (book
                chapter).

            31. Edelman SV. Glycemic control and complications in type II
                diabetes: design of a feasibility trial: summary and commentary.
                Diabetes Spectrum. 9(1):47-50, 1996.

            32. Edelman SV. New orally administered antihyperglycemic agents for
                the management of patients with type II diabetes and the syndrome
                of insulin resistance. Endocrine Practice. 2(4):271-275, 1996.

            33. Edelman SV. Management of patients with diabetes by nurses with
                support subspecialists: summary and commentary. Diabetes Spectrum.
                9(3):178-180,1996.

            34. Edelman SV. New oral antidiabetic agents for the prevention and
                management of NIDDM. International Diabetes Monitor. 8(4):1-8,
                1996.

            35. Saudek CD, Duckworth WC, Giobbie-Hurder A, Henderson WG,
                Henry RR, Kelley DE, Edelman SV, Zieve F, Adler RA, Anderson
                JW, Anderson RJ, Hamilton BP, Donner TW, Kirkman MS, Morgan
                NA, Department of Veterans Affairs. Implantable insulin pump vs.
                multiple dose insulin in the treatment of non-insulin-dependent

                                                                                   12
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                   diabetes mellitus: a randomized clinical trial. JAMA. 276:1322-1327,
                   1996.

            36. Kelley DE, Henry RR, Edelman SV, Veterans Affairs Implantable
                Insulin Pump Study Group. Acute effects of intraperitoneal versus
                subcutaneous insulin delivery on glucose homeostasis in patients
                with NIDDM. Diabetes Care. 19(11):1237-1242, 1996.



            37. Edelman SV, Kartun K, Nadeau DA, Prince MJ. Clinical case
                studies in diabetes: pearls and pitfalls. A focus on NIDDM. Volume
                1. Alain D. Baron, editor. Clinical Communications Inc., Greenwich,
                CT. pages 1-29, 1996.

            38. Edelman SV, Kartun K, Prince MJ, Zimmerman BR. Clinical case
                studies in diabetes: pearls and pitfalls. A focus on NIDDM. Volume
                2. Alain D. Baron, editor. Clinical Communications Inc.,
                Greenwich, CT. pages 1-33, 1996.

            39. Edelman SV. Troglitazone: a new and unique oral anti-diabetic
                agent for the treatment of type II diabetes and the insulin resistant
                syndrome. Clinical Diabetes. 15(2):60-65, 1997.

            40. Edelman SV, Henry RR. Non-insulin-dependent diabetes mellitus.
                In: Current Therapy in Endocrinology and Metabolism. Sixth Edition. CW
                Bardin, editor. Mosby-Year Book Inc. pages 430-438, 1997 (book
                chapter).

            41. Buse JB, Edelman SV, Knudson. Clinical case studies in diabetes:
                pearls and pitfalls. A focus on NIDDM. Volume 3. Alain D. Baron,
                editor. Clinical Communications Inc., Greenwich, CT. pages 1-33,
                1997.

            42. Edelman SV, Kirkman SM, Zimmerman BR. Clinical case studies
                in diabetes: pearls and pitfalls. A focus on NIDDM. Volume 4.
                Alain D. Baron, editor. Clinical Communications Inc., Greenwich,
                CT. pages 1-36, 1997.

            43. Bagdade JD, Kelly DE, Henry RR, Eckel RH, Ritter MC, for the

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                   Department of Veterans Affairs Implantable Insulin Pump Study
                   Group, Edelman SV. Effects of multiple daily insulin injections
                   and intraperitoneal insulin therapy on cholesteryl ester transfer and
                   lipoprotein lipase activities in NIDDM. Diabetes. 46:414-420, 1997.

            44. Edelman SV. Type II diabetes. In: Advances in Internal Medicine. John
                Baxter, editor. Mosby-Year Book Inc. 43:449-500, 1997 (book
                chapter).



            45. Edelman SV, Kruger DF. A new look at glucose control: the case
                for therapy with insulin and an amylin analog. Practical Diabetology.
                16(4):9-14, 1997.

            46. Edelman SV. Prescribing oral antidiabetic agents: general
                considerations. Clinical Diabetes. 16(1):37-42, 1998.

            47. Edelman SV. Prevention, early detection, and aggressive
                management of diabetic kidney disease. Clinical Diabetes.
                16(2):77-80, 1998.

            48. The Veterans Affairs Implantable Insulin Pump Study Group.
                Edelman SV. The Veterans Affairs implantable insulin pump study:
                effects on cardiovascular risk factors. Diabetes Care.
                21(10):1596-1602, 1998.

            49. Harati Y, Edelman SV, Greene D, Raskin P, Cornblath D, Donofrio
                P, Swenson M, Kamin M. Efficacy of tramadol for the treatment of
                the pain of diabetic neuropathy. Neurology. 50(6):1842-1846, 1998.

            50. Edelman SV. The importance of glucose control. Med Clin North
                Am. 82:665-672, 1998 (book chapter).

            51. Ramlo-Halsted BA, Edelman SV. The natural history of type 2
                diabetes. Primary Care Clinics of North America. 26:771-789, 1998
                (book chapter).




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            52. Edelman SV. A practical approach to combination therapy: daytime
                oral agent(s) and bedtime NPH insulin. Clinical Diabetes.
                17(3):100-102, 1999.

            53. The Diabetes Prevention Program Research Group, Edelman SV.
                Design and methods for a clinical trial in the prevention of type 2
                diabetes. Diabetes Care. 22(4):623-634, 1999.

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